              Case 2:09-cr-00096-JAM Document 163 Filed 06/12/15 Page 1 of 3



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 6   Attorney for Defendant
     JOSEPH SILVA
 7

 8                        IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 09-CR-00096-JAM
                                                     )
12                                                   )       STIPULATION AND
            Plaintiff,                               )       ORDER CONTINUING RELEASE
13                                                   )       VIOLATION HEARING
     v.                                              )
14                                                   )
     JOSEPH SILVA.                                   )       Date: June 23, 2015
15                                                   )       Time: 11:00 am.
                                                     )       Judge: Honorable John A. Mendez
16
            Defendant.                               )
                                                     )
17                                                   )
                                                     )
18

19          IT IS HEREBY stipulated between the United States of America through its undersigned

20   counsel, Josh Sigal, Assistant United States Attorney, attorney for plaintiff, together with Kyle

21   Knapp, attorney for defendant, Joseph Silva, that the previously-scheduled violation hearing,

22   currently set for June 16, 2015, be vacated and that the matter be reset for hearing on June 23,

23   2015 at 11:00 a.m.

24          This continuance is requested to allow defense counsel additional time to finish

25   investigating some issues that may constitute defenses to some of the allegations in the petition.

26

27   IT IS SO STIPULATED.

28   Dated: June 11, 2015                                            BENJAMIN B. WAGNER


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             Case 2:09-cr-00096-JAM Document 163 Filed 06/12/15 Page 2 of 3


                                                     UNITED STATES ATTORNEY
 1

 2                                             by:   /s/ Kyle Knapp for
                                                     JOSH SIGAL
 3                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
 4

 5   Dated: June 11, 2015                            /s/ Kyle Knapp
                                                     KYLE KNAPP
 6                                                   Attorney for Defendant
 7
                                                     JOSEPH SILVA

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             Case 2:09-cr-00096-JAM Document 163 Filed 06/12/15 Page 3 of 3



 1
                                                ORDER
 2
            The Stipulation of the parties is hereby accepted and the requested continuance is
 3
     GRANTED. This matter shall be dropped from this court’s June 16, 2015 criminal calendar at
 4
     11:00am and re-calendared for violation hearing on June 23, 2015 at 11:00am.
 5

 6
            IT IS SO ORDERED.
 7
     Dated: 6/12/2015                                    /s/ John A. Mendez____________
 8                                                       HON. John A. Mendez
                                                         United States District Court Judge
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